 Case: 1:16-cv-05744 Document #: 1 Filed: 05/31/16 Page 1 of 11 PageID #:1                             %6


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                             Case: 1:16-cv-05744 Document #: 1 Filed: 05/31/16 Page 8 of 11 PageID #:8
                            COOK COUNTY SHERIFF'S OFFICE                                                                              !     enrevnruce           f,   t'tOru-eruevnNcE (REOUEST)
                            (Oficina del Alguacil del Condado de Cook)

                            INMATE GRIEVANCE FORM
                             (Formulario de Queja del Preso)




                 GRIEVANCE FORM PROCESSED AS:                                                           REFERRED TO:

                       E     EMERGENCYGRIEVANCE                                                            E       CERMAK HEALTH SERVICES

                       T     GRIEVANCE
          *            E     NoN-GRIEVANcE (REoUEST)

                        Prognm SeMies Superuisor Appmving Non-Gievane (Request) Signature



 PRlllT - INMATE LAST NAME (Apellido del Preso):                                                                                       lD Number (# de identificaci6n\l

                                                                                                                                       :1-:14; 'l j         ,..ir'{,"6

                                                                                                                                                     ''i tfr //5
                                               * An inmate wishing to file a grievance is required to do so within 1 5 days of the event he/she is grieving.
                      * lnmate
                               Disciplinary Hearing Board decisions cannot be grieved or appealed through the use of an lnmate Grievance Request / Response / Appeal Form.
                 *
                   When a grievance issue is processed as a NON-GRIEVANCE (REaUEST), an inmate may re-submit the grievance issue after 15 days to obtain a "Control Number"
                                                        if there has been no response to the request or the request is deemed unsatisfactory.
                                            *
                                              Un preso que desea llenar una queja, se le requiere que lo haga dentro de los 15 dias despu6s del incidente.
            *
                Las decisiones del Conitd Disciplinario de los preso, no podrdn ser cuestionadas o apeladas a trav1s del uso del Formulario de Quejas / Respuesta / Forna de Apelaci1n.
                *
                  Cuando una queja se procesa como una QUEJAS NO (PET\C\6N), un preso podria re-sonetet una Queja despues de tos 15 dias para recibi un.Nunero de Control',
                                                              ya s@ poryue no hay una respuesta o porque la respuesta es insatisfactoria.

                                         PLEASE INCLUDE: Date of            lncident -        Time of lncident                 Specifc Location of lncident
                                         (Por Favor,lncluya:
                                                         Fecha Del lncidente           -      Hora Del lncidente               Lugar Especifico Del lncidente)




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 NAME OF STAFF OR INMATE(S) HAVING INFORMATION BEGABDING THIS COMPLAINT:                                      INMATE SIGNATURE (Fhma del Preso)i
 (Nombrc del personal o pr6os que tengan infprmaci'n)i




 CBW/ PLATOON COUNSELoR (print):                                     SIGNATURE:                                                        DATE CRWPLATOON COUNSELOR RECEIVED




 SUPERINTENDENT I OrneCrOn I OeSrc.ttee          (prn),



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                      * To exhaust administrative remedies, appeals must be made within 14 days of the dafe the inmate received
                                                                                                                                   the response.
                      * Las apelacr'ones tendrdn que ser somecdas dentro de, los 14 dias; a partlr que eI preso recibi' ta respuesta para
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      DATE OF INMATE'$ REQUEST FOR AN APPEAL: (Fecha de               la   soticitud de   ta apetacion det      detenido:)           I           /   _
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                               ADMINISTRATOR/DESIGNEE'S ACCEPTANCE oF INMATE'S                         APPIAL?                       YeS  (Si)       NoI
                           Q Apelacion del detenido aceptadApor el administrador a/su                  designada(a)?)                    tr          D
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           |SIIlAToR/DESlGNEE(Administradoro7,suDesigni|o1a);




                                                                                                                                     (Fecha en que el preso recibio respuesta a su apelaci6r,):


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Case: 1:16-cv-05744 Document #: 1 Filed: 05/31/16 Page 10 of 11 PageID #:10
                                                                                      ti.,
                            Case: 1:16-cv-05744 Document #: 1 Filed: 05/31/16 Page 11 of 11 PageID #:11
                               COOK COUNT'r' SHfRIFF'S OFFICE                                                                                                                  NON.GRIEVANCE (REQUEST)
                                (Oficirta del Alguacil de! Condado de Cook)

                               INMATE GRIEVANCE FORM
                               (Formulario de Queja del Preso)                                                                                                         i       '    r,.


              GRIEYAIICE FARM PROCESSED AS:                                                                      REFERRED TO:
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                    r:     EMERGENCY GRIEVANCE

                    L-l    GRTEVANCE                                                                                 T    SUPERINTENDENI:

              .    ff"rrrorrr-e       RTEVANCE (REQUEST)                                                             f    OTHER:

                       Progran Services Supervisor Approving /'lon'Inevance (lTequest) .fignatare



                                                                                                                                                    lD Number f# de identificacion):




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                                          An inmate wishing to file a grievance is required to do so within 15 days of the event he/she is grieving.
               t    lnnnateDisciplinaryHearingBoarddecisionscannotbegrievedorappealedthroughtheuseofanlnmateGrievanceRequest/Response/AppealFornr.
                   *    WhenagdevanceissueisptocessedasaNoN-GRIEVANCE(REQUESI),aninmatemayre-submitthegrievanceissueafter15daystoobtaina"Control
                                                       Number" if there has been no response to the request or the response is deemed unsatisfactory.

                                          "
                                       tln presi que desea llenar ana queja, se te requiere que lo haga dentro de tas 15 dias despuds det incidente.
        Las decisiones del Comitd Disciplinario de los presos, no podrdn sercuestionadas o Apeladas a travis del uso det Fofinulaio de Quejas/Respuesta/Forma de Apetacitin.
          *  Cuando una Queja se procesa coml una QUEIAS N0 (PET|CI1N), un preso podria re-someter una Sueja despuds de los tr 5 dias pan recibir un "Numero de Control",
                                                                  ya sea porque na hay una respuesta         o   porque la respuesta es insatisfactoria.

                                      PLEASE      INCLUDE:               Date of Incident             - Time of lncident -               Specific Location of lncident
                                     (Por   Faygglylyya:__F.echa              Del lncidente
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(FCr\i-47XNOV l-1)
                             c*& *                    (WHITE COPY                                                   (YELLOW COPY _ CRVPLATOON COUI.]SELOR)                                (PINK COPY _ INMATE)
